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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

LAREDO DIVISION

CESAR SALAZAR §
§
Plaintiffs, §
§

V. § Civil Action No. 5:17-CV-00001
§
TRAVELERS LLOYDS OF TEXAS §
INSURANCE COMPANY AND §
CAROLYN TAUTE §
§
Defendants §

DEFENDANT TRAVELERS LLOYDS OF TEXAS INSURANCE COMPANY’S
NOTICE OF REMOVAL

Defendant TRAVELERS LLOYDS OF TEXAS INSURANCE COMPANY, (“Travelers” or
“Defendant”), files its Notice ofRernoval of this action from the ll lTH Judicial District Court, Webb
County, Texas to the United States District Court for the Southern District of Texas, Laredo
Division, the Court for the District and Division encompassing the place where the lawsuit is
currently pending ln support of this removal, Defendant relies upon the AppendiX Filed in Support
of Defendant’s Notice of Renioval filed contemporaneously herewith and shows the following

I.
INTRODUCTION

l. On Decernber 15, 2016, Plaintiff Cesar Salazar filed his original petition in the lllTH
J udicial District Court, Webb County, TeXas captioned Cesar Salazar v. Travelers Lloyds OfTexas
lnsurance Company and Carolyn Taute, Cause Number 2016CVF003117 D2 (the “State Court
Action”).

2. Citation for the State Court Action was issued on Decernber 19, 2016 and served on

Defendant Travelers Lloyds of Texas lnsurance Cornpany via Certifled l\/lail on Decernber 23, 2016.

 

 

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II.
BASIS FOR REMOVAL

3. This Court has original jurisdiction over this State Court Action, pursuant to 28 U.S.C.
§1332(a), because it is a civil action between citizens of different states where the matter in
controversy exceeds the sum or value of $75,000.00, exclusive of interest and costs.

4. The Plaintiff seeks monetary damages over $100,000.00 but not more than $200,000.00.
See Exhibit A-l at paragraph 55. Accordingly, the amount in controversy in this matter meets and
exceeds the federal jurisdictional minimum of $75,000, exclusive of interest and costs

5. Plaintiff was at the time of the filing of this action, has been at all times since, and still is
an individual resident citizen of Texas. For diversity purposes, an individual is a citizen of the state
of his domicile, which is the place of his true, fixed, and permanent horne and principal
establishment, to which he has the intention of returning horne whenever he is absent therefrom See
Stz`ne v. Moore, 213 F.2d 446, 448 (Sth Cir. 1954). Accordingly, Plaintiff is a citizen of Texas.

6. Defendant Travelers Lloyds of Texas lnsurance Company is a Lloyd’s plan insurance
association and is an unincorporated association For purposes of diversity jurisdiction, the
citizenship of a Lloyd’s plan insurance association is determined by the citizenship of its
underwriters Royal Ins. C0. OfAm. v Quz'nn-L Capitcll Corp., 3 F.3d 877, 882-83 (5th Cir. 1993): see
also State Farm Lloyds v. Peed, No. CIV.A. 3100CV1696-BC, 2001 WL 513427 (N.D. Tex. May 9,
2001)(“ For purposes of diversity jurisdiction, a Lloyds Plan insurer is considered an ‘unincorporated
association’ whose citizenship is determined solely by the citizenship of its underwriters.).

7. On the date of this removal and at all relevant times, Travelers Lloyds of Texas lnsurance

Company’s underwriters are all citizens of Connecticut; none of its underwriters are citizens of

 

 

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Texas. See Exhibit B. Accordingly, Travelers Lloyds of Texas lnsurance Company is a citizen of
Connecticut.

8. Defendant Carolyn Taute (“Taute”) was improperly joined, and therefore, her citizenship
can be disregarded for purposes of diversity jurisdiction For purposes of considering whether
complete diversity jurisdiction exists, a court may disregard the citizenship of parties that have been
improperlyjoined. Galveston Bay Bioa’z`esel, L.P. v. Ace Am. lns. CO., 719 F.Supp.2d 73 6, 738 (S.D.
Tex. 2010)(citing Smallwood v. lll. Cent. R.R. Co., 385 F.3d 568, 572-73 (5th Cir. 2004)).

9. Because the amount in controversy exceeds 875,000 and Plaintiff is a citizen of Texas
while no properly joined defendant is a citizen of Texas, this Court has original jurisdiction over the
present action pursuant to 28 USC §1332. Therefore, removal is proper.

10. “The citizenship of an improperly-joined defendant is disregarded for the purpose of
diversity jurisdiction.” Griggs v. Stale Farm Lloya’s, 181 F.3d 694, 699-700 (5th Cir. 1999); see also
Herirage Bank v. Rea’eom Labs, Inc., 250 F.3d 319, 323 (5th Cir. 2001), cert denied 534 U.S. 997
(2001); Carriere v. Sears, Roebuck & C0., 893 F.2d 98, 101-02 (5th Cir. 1990). lmproperjoinder is
established by showing: (1) actual fraud in pleading jurisdictional facts; or (2) the inability of the
plaintiff to establish a cause of action against the non-diverse defendant See Smallwooa’ v. Illz`noz`s
Cenrr. R.R. Co., 385 F.3d 568, 573 (5th Cir. 2004)(en banc). When assessing the plaintiff s inability
to establish a cause of action, the court conducts “a Rule l2(b)(6)-type analysis, looking initially at
the allegations of the complaint to determine whether the complaint states a claim under state law
against the in-state defendant.” Guill0ry v. PPG Ina'us., Inc., 434 F.3d 303, 309 (5th Cir. 2005)(citing
Smallwooal, 385 F.3d at 573).

ll. The claims against Taute are nothing more than boilerplate The plaintiffs factual

allegations were only asserted against Defendant Travelers without alleging any facts attributable to

 

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the adjuster individually as opposed to the insurance company. See TAJProps., LLC v. Zarz`ch Am.
[ns. Co., No. H-10-2512, 2010 WL 4923473, at *4 (S.D.Tex. Nov. 29, 2010). ln recent cases, courts
have held that an adjuster, like Taute, was improperly joined where the allegations against her were
“mere conclusory allegations” and failed to allege facts that “would plausibly lead to the conclusion
that plaintiff suffered any damage by reason of [the adjuster’s] conduct.” Plascencz`a v. State Farrn
LlOyds, 4:14-CV-00524-A, at * 14 U.D. Tex. Sept. 25, 2014.)1; see also Yoang v. Travelers Personal
Securily lns. Co., ez‘ al, 4:16-CV-235, 2016 WL 4208566 (S.D. Tex August 10, 2016); Johnson v.
The Travelers Holne and Marz`ne [ns. CO., No. H-l6-449, 2016 WL 4061146 (S.D. Tex. July 29,
2016).

12. ln addition, there is no plausible recovery against Taute on the fraud and conspiracy to
commit fraud claims alleged against her. A plaintiff alleging fraud is required to “state with
particularity the circumstances constituting fraud.” Fed. R. Civ. P. 9(b). Federal Rule of Civil
Procedure 9(b) demands that the plaintif “specify the statements contended to be fraudulent, identify
the speaker, state when and where the statements were made, and explain why the statements were
fraudulent.” Herrmann Holdz`ngs er. v. Lucent Techs. Inc., 302 F.3d 552, 564-65 (5th Cir. 2002).
Rule 9(b) applies to all averments of fraud, whether they are a claim of fraud or statutory claims
based on allegations of fraud Omnz` USA, Inc. v, Parker-Hannifi`n Corp., 789 F.Supp.2d 831, 836
(S.D. Tex. 2011) citingLone Star Ladz'es Inv. Club v. Scholrzsky ’s, ]nc., 238 F.3d 363, 368 (5th Cir.
2001). Plaintiff s Original Petition in the State Court Action does not specify any statements that are
alleged to be fraudulent, who made the statements, state when and where the statements were made,

nor explain why the statements are fraudulent

 

1 A copy of the Plascencz'a opinion is not available on Westlaw and is therefore attached for reference as Exhibit C.

 

 

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13. Accordingly, because the allegations against Taute are conclusory and made solely to
destroy diversity jurisdiction, Taute’ s citizenship should be disregarded because she was improperly
joined.

14. Taute’s consent to this removal is not required because she was improperly joined. See
Rz`co v. Flores, 481 F.3d 234, 239 (5th Cir. 2007)(“[A] removing party need not obtain the consent of
a co-defendant that the removing party contends is improperly joined.”); Jernz`gan v. Ashland Oil
Inc., 989 F.2d 812, 815 (5th Cir. 1993).

15. This action may be removed to this Court pursuant to 28 USC §1441(a), which allows for
the removal of any civil action brought in the state court of which the District Courts of the United
States have original jurisdiction, by the defendant or the defendants, to the District Court of the
United States for the district and division embracing the place where such action is pending.

16. This Notice of Removal is filed within thirty (3 0) days after service (on December 23,
2016) by Defendants of the State Court Action. This Notice of Removal is also been filed within one
year of the filing of Plaintiff s Original Petition by which the State Court Action was commenced
This Notice, therefore, if timely filed pursuant to 28 USC §1446 (b).

III.
PROCEDURAL REQUIREMENTS

17. ln accordance with 28 USC section 1446 (D), Defendants will promptly give written
notice of this Notice of Removal to Plaintiffs through counsel of record and file a copy of this Notice
of Removal in the 111TH Judicial District Court, Webb County, Texas.

18. Defendants reserve the right to amend or supplement this Notice of Removal.

19. The following are included in the Appendix filed contemporaneously with this Notice of

Removal;

 

 

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(a) an index of all documents that clearly identifies each document and indicates the date
the document was filed in the State Court Action;

(b) a copy of the docket sheet in the State Court Action;

(c) a copy of each document filed in the State Court Action, except discovery material,
arranged in chronological order according to the state court filing date; and

(d) a separately filed JS-44 Civil Cover Sheet.

For the above reasons, Defendants give notice of the removal of the State Court Action to this
Court and respectfully request that this action proceed before this Court as though it had originally
been instituted in this Court.
Dated: E.Q lanuary, 2017
Respectfully submitted,

ADAl\/ll, SHUFFIELD, SCHEIHING
& BURNS, P.C.

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ATTORNEY FOR DEFENDANT

 

 

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CERTIFICATE ()F SERVICE

This is to certify that a true and correct copy of the above and foregoing document has been
forwarded to the following counsel of record in compliance with the Texas Rules of Civil Procedure
this ft“§?§§~ day of January, 2017:

Larry W. Lawrence, Jr.

l\/lichael Lawrence

LAWRENCE LAW FiRi\/i

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